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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7     PATRICK CALHOUN, et al.,                         Case No. 20-cv-05146-YGR (SVK)
                                   8                    Plaintiffs,
                                                                                          ORDER FOR SANCTIONS IN RE
                                   9             v.                                       THIRD PARTY E&Y PRODUCTION
                                  10     GOOGLE LLC,                                      RE: DKT. NOS. 558, 601, 616
                                  11                    Defendant.

                                  12          The Court is in receipt of Google’s response to this Court’s Order to Compel and Order to
Northern District of California
 United States District Court




                                  13   Show Cause as to why Google should not be sanctioned for interfering with the production of
                                  14   third-party Ernst & Young (“E&Y”) documents ordered by this Court. Dkts. 558, 616. The key
                                  15   facts in chronological order are as follows:
                                  16      •   Plaintiffs subpoenaed Defendant’s auditor, third-party E&Y, for documents relating to the
                                  17          valuation of certain user information. See Dkt. 352 at 5.
                                  18      •   Google moved for a protective order, asking this Court to prohibit Plaintiffs from seeking
                                  19          documents from E&Y. Dkt. 352.
                                  20      •   This Court granted in part and denied in part Google’s motion, narrowly tailoring the
                                  21          allowed requests and ordering “E&Y to produce responsive documents in accordance with
                                  22          the Order above by November 30, 2021.” Dkt. 380 (“Order to Produce”).

                                  23      •   In response to the Order to Produce, E&Y identified 6,322 responsive documents.
                                  24          Dkt. 533, 1:6.
                                  25      •   Prior to production of the E&Y documents, Google reviewed and deselected 6,232
                                  26          documents on the basis of relevance. After Google’s review, 90 documents were
                                  27          produced. Id. at 1:10.
                                  28      •   Plaintiffs moved to compel compliance with the Order to Produce, seeking production of
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                                   1          the entire set of 6,322 documents identified by E&Y. Dkt. 533.

                                   2      •   Google opposed the motion to compel (Dkt. 541) as did E&Y (Dkt. 543). In its statement,

                                   3          E&Y stated that it in selecting the 6,322 documents, it “made its own good-faith

                                   4          determination, as a non-party to this case, as to what documents appeared responsive to

                                   5          these requests.” Dkt. 543.

                                   6      •   Pursuant to Plaintiff’s motion to compel, this Court ordered production of the entire set of

                                   7          6,322 E&Y documents and issued an order to show cause as to why Google should not be

                                   8          sanctioned for interfering with the E&Y production. Dkt. 558 (“Order to Compel and

                                   9          OSC”).

                                  10      •   Pursuant to the Order to Compel and OSC, Plaintiffs filed a declaration regarding their fees

                                  11          and costs associated with bringing the motion to compel only, excluding the motion for

                                  12          protective order. Plaintiffs’ fees and costs associated with the motion total $10,836.00.
Northern District of California
 United States District Court




                                  13      •   Google filed a response to the Order to Compel and OSC, restating its arguments in its

                                  14          motion for protective order and in opposition to the motion to compel. Dkts. 352, 541,

                                  15          616.

                                  16          Under Federal Rule of Civil Procedure 37, “the court must order the disobedient party, the

                                  17   attorney advising that party, or both to pay the reasonable expenses, including attorney's fees,

                                  18   caused by the failure, unless the failure was substantially justified or other circumstances make an

                                  19   award of expenses unjust.” Fed. R. Civ. P. 37(b)(2)(C). Google argues that its review and culling

                                  20   of the E&Y production were “substantially justified” because E&Y’s search efforts captured

                                  21   mostly irrelevant documents, and only these documents were removed from the E&Y production.

                                  22   Dkts. 541; 616. In sum, Google suggests that the “no harm, no foul” rule should apply to its

                                  23   conduct in this case. The Court disagrees.

                                  24          In the first round of this dispute regarding the scope of production by E&Y, Google

                                  25   objected to the subpoena, bringing a motion for protective order which this Court evaluated and

                                  26   ruled upon. Dkts. 352; 380. In granting in part and denying in part Google’s motion, the Court

                                  27   articulated the scope of responsive documents for E&Y to identify and produce. Dkt. 380. The

                                  28   Order to Produce was unambiguous: “E&Y [is ordered] to produce responsive documents in
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                                   1   accordance with the Order above by November 30, 2021.” Dkt. 380. E&Y, a sophisticated litigant in

                                   2   its own right, then searched for and, in E&Y’s own words, “made its own good-faith

                                   3   determination, as a non-party to this case, as to what documents appeared responsive to these

                                   4   requests.” Dkt. 543. Having not received all of the relief it had sought in its motion for protective

                                   5   order, Google took it upon itself to review and significantly reduce the E&Y production. Dkt. 541

                                   6   at 3-4; Dkt. 616 at 5. Google then expected Plaintiffs to take Google’s word that the culled

                                   7   documents, collected by E&Y pursuant to this Court’s Order to Produce, were not relevant. Id.

                                   8   Plaintiffs responded with a motion to compel compliance with this Court’s Order to Produce,

                                   9   which was the second round of this dispute. Dkt. 533. In opposition to the motion to compel,

                                  10   Google argued, as continues to do here, that it was justified in working with E&Y to remove

                                  11   irrelevant documents. Dkts. 541, 616. The Court was not persuaded and compelled production

                                  12   and issued an order to show cause as to why Google should not be sanctioned. Dkt. 558.
Northern District of California
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                                  13            Then, as now, Google appears blind to the gravity of the error of its interference with a

                                  14   Court order, the Order to Produce (Dkt. 380). Google’s proffered “justification,” primarily that

                                  15   the documents reflect highly confidential financial information not relevant to the claims in suit,

                                  16   was heard and rejected by this Court twice, in both the Order to Produce and the Order to Compel

                                  17   and OSC. Dkts. 380, 558. The fact that Plaintiffs did not identify any valuation documents in the

                                  18   documents culled by Google only mitigates the severity of Google’s misconduct; it does not

                                  19   excuse it. None of the authorities cited by Google speak to the situation at hand where, having

                                  20   challenged the scope of a third-party subpoena and received a ruling from the court, a party then

                                  21   substantially culls third-party documents prior to production in contravention of a court order.

                                  22   Google’s actions were, and remain, in breach of this Court’s Order to Produce. Dkt. 558. In

                                  23   short, Google’s actions may have been justified in its own eyes but not in the eyes of the Court.

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                                   1          For the reasons articulated in this Court’s Order to Show Cause and herein, Google is

                                   2   ordered to pay Plaintiffs’ fees and costs incurred in bringing the motion to compel in the amount

                                   3   of $10,836.00.

                                   4          SO ORDERED.

                                   5   Dated: June 6, 2022

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                                                                                                   SUSAN VAN KEULEN
                                   8                                                               United States Magistrate Judge
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Northern District of California
 United States District Court




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